                Case 19-51064              Doc 1        Filed 08/08/19           Entered 08/08/19 16:44:51                    Page 1 of 88

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF CONNECTICUT

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Latex Foam International, LLC dba Talalay Global

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  510 River Road
                                  Shelton, CT 06484
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fairfield                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Latex Foam International, LLC dba Talalay Global                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District   District of Connecticut When             5/30/14                    Case number   14-50845
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                  Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Latex Foam International, LLC dba Talalay Global                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Latex Foam International, LLC dba Talalay Global                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 8, 2019
                                                  MM / DD / YYYY


                             X   /s/ Marc Navarre                                                         Marc Navarre
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ James Berman                                                          Date August 8, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 James Berman ct06027
                                 Printed name

                                 Zeisler & Zeisler, P.C.
                                 Firm name

                                 10 Middle Street, 15th Floor
                                 Bridgeport, CT 06604
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (203) 368-4234                Email address      info@zeislaw.com

                                 ct06027 CT
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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Debtor     Latex Foam International, LLC dba Talalay Global                                  Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF CONNECTICUT

Case number (if known)                                                   Chapter     11
                                                                                                                            Check if this an
                                                                                                                            amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Latex Foam Assets Acquisition, LLC                                      Relationship to you                Affiliate
District   District of Connecticut                    When                         Case number, if known              19-
Debtor     Latex Foam International Holdings, Inc.                                 Relationship to you                Affiliate
District   District of Connecticut                    When                         Case number, if known              19-
Debtor     PLB Holdings, LLC                                                       Relationship to you                Affiliate
District   District of Connecticut                    When                         Case number, if known              19-
Debtor     Purelatex Bliss, LLC                                                    Relationship to you                Affiliate
District   District of Connecticut                    When                         Case number, if known              19-




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 5
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 Fill in this information to identify the case:

 Debtor name         Latex Foam International, LLC dba Talalay Global

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          August 8, 2019                          X /s/ Marc Navarre
                                                                       Signature of individual signing on behalf of debtor

                                                                       Marc Navarre
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Latex Foam International, LLC dba Talalay Global
 United States Bankruptcy Court for the: DISTRICT OF CONNECTICUT                                                                                      Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Centrotrade Rubber              Janice Connor                                                                                                                          $442,334.86
 USA, Inc.
 Attn: Pres, GP or               Janice@centrotrad
 Mang Membr                      e.com
 676 Independance                (800) 520-7669
 Parkway
 Ste 110
 Chesapeake, VA
 23320
 BASF Corporation                John Valovic                                                                                                                           $264,560.93
 Attn: Pres, GP or
 Mang Membr                      john.valovic@basf.
 P.O. Box 360941                 com
 Pittsburgh, PA                  (603) 763-4018
 15251-6941
 Tiarco, LLC                     Kevin Nolan                                                                                                                            $239,902.92
 Attn: Pres, GP or
 Mang Membr                      knolan@trcc.com
 PO Box 745375                   (877) 284-2726
 Atlanta, GA
 30384-5375
 Synthomer LLC                   Alexandra Diehl                                                                                                                        $180,355.68
 Attn: Pres, GP or
 Mang Membr                      alexandra.diehl@s
 5/3 Bank                        ynthomer.com
 1761 Momentum                   (678) 916-6267
 Place
 Chicago, IL 60689
 Standard Fiber, LLC             Sandy Gray                                                                                                                               $97,659.08
 Attn: Pres, GP or
 Mang Membr                      sandygray@standa
 577 Airport Blvd.,              rdfiber.com
 Suite 200                       (650) 872-6528
 Burlingame, CA
 94010




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Latex Foam International, LLC dba Talalay Global                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Alvarez & Marsal                                                                                                                                                         $68,280.00
 Private Equit
 Attn: Pres, GP or
 Mang Membr
 600 Madison Ave,
 8th Floor
 New York, NY 10022
 Blue -Grace                     Matthew Skull                                                                                                                            $57,542.14
 Logistics LLC
 Attn: Pres, GP or               mscull@bluegrace
 Mang Membr                      group.com
 Dept 108
 PO Box 4964
 Houston, TX
 77210-4964
 8600 Central                    Anthony Inman                                                                                                                            $41,710.40
 Venture, LLC
 Attn: Pres, GP or               (940) 322-1140 fax
 Mang Membr                      (940) 322-9000
 3000 Buchanan
 Street
 Wichita Falls, TX
 76308
 Unicorr Packaging               Providencia Solis                                                                                                                        $39,971.48
 Group
 Attn: Pres, GP or               Psolis@unicorr.co
 Mang Membr                      m
 Connecticut                     (203) 248-2161
 Container Corp
 4282 Paysphere
 Circle
 Chicago, IL 60674
 Ruckel Mfg. Co., Inc.           Joseph Rottenberg                                                                                                                        $33,112.00
 Attn: Pres, GP or
 Mang Membr                      joer@ruckelmfg.co
 Brooklyn Navy Yard              m
 63 Flushing Ave.                (718) 643-8005
 Unit 331
 Brooklyn, NY 11205
 United Illuminating             Michael Crowley                                                                                                                          $32,604.84
 Co.
 Attn: Pres, GP or               Michael.Crowley@
 Mang Membr                      uinet.com
 P.O. Box 9230                   (800) 722-5584
 Chelsea, MA
 02150-9230
 Axle Logistics, LLC             Jordan Parris                                                                                                                            $23,628.00
 Attn: Pres, GP or
 Mang Membr                      jordan.parris@axlel
 520 W. Summit Hill              ogistics.com
 Drive, Ste 1005
 Knoxville, TN 37902


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Latex Foam International, LLC dba Talalay Global                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Evoque Data Center              Cynthia Andrews                                                                                                                          $23,579.50
 Solutions
 Attn: Pres, GP or               ca424k@att.com
 Mang Membr
 P.O. Box 9005
 Carol Stream, IL
 60197-9005
 DeWolf Chemical,                Kristin Bastien                                                                                                                          $22,752.64
 LLC.
 Attn: Pres, GP or               kbastien@dewolfc
 Mang Membr                      hem.com
 PO Box 842472                   (401) 434-3515
 Boston, MA
 02284-2472
 Global Pallet                   Tom Hodgkinson                                                                                                                           $21,610.65
 Solutions, LLC
 Attn: Pres, GP or               globalpallets@sbc
 Mang Membr                      global.net
 271 John Downey                 (860) 826-5000
 Drive
 New Britain, CT
 06051
 PraxAir Inc.                    Myron Stewart                                                                                                                            $21,238.72
 Attn: Pres, GP or
 Mang Membr                      myron
 PO Box 417518                   stewart@praxair.co
 Boston, MA                      m
 02241-7518                      (800) 772-9247
 Carter-McLeod                   Mike Pingree                                                                                                                             $21,168.55
 Paper & Packaging
 Co                              mikep@cartermcle
 Attn: Pres, GP or               od.com
 Mang Membr                      (413) 736-1000
 136 Wayside
 Avenue
 West Springfield,
 MA 01089-1318
 Saatva, Inc.                    Harley Greenfield                                                                                                                        $21,000.00
 Attn: Pres, GP or
 Mang Membr
 19-02 Whitestone
 Expwy
 Ste 201
 Whitestone, NY
 11357
 Fifth Third                     Dan Bick                                                                                                                                 $20,125.71
 Bank-Credit Card
 Attn: Pres, GP or               Dan.Bick@53.com
 Mang Membr
 P.O. Box 740523
 Cincinnati, OH
 45274-0523


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Debtor    Latex Foam International, LLC dba Talalay Global                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Veritiv Operating               Barry Soehnlein                                                                                                                          $20,084.10
 Company
 Attn: Pres, GP or               BARRY.Soehnlein
 Mang Membr                      @veritivcorp.com
 P.O. Box 409884
 Atlanta, GA
 30384-9884




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 4

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                                                               United States Bankruptcy Court
                                                                     District of Connecticut
 In re      Latex Foam International, LLC dba Talalay Global                                          Case No.
                                                                                Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       August 8, 2019                                          /s/ Marc Navarre
                                                                     Marc Navarre/CEO
                                                                     Signer/Title




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                        Internal Revenue Service
                        Centralized Insolvency operation
                        P.O. Box 7346
                        Philadelphia, PA 19101-7346


                        U.S. Department of Justice
                        Attn: Jeff Sessions, Attorney
                        950 Pennsylvania Avenue, NW
                        Washington, DC 20530


                        US Attorney's Office,New Haven
                        Attn: Christine Sciarrino, Esq
                        Assistant US Attorney
                        57 Church Street, Floor 25
                        New Haven, CT 06510


                        Department of Revenue Services
                        State of Connecticut
                        P.O. Box 2936
                        Hartford, CT 06104-2936


                        8600 Central Venture, LLC
                        Attn: Pres, GP or Mang Membr
                        3000 Buchanan Street
                        Wichita Falls, TX 76308


                        A Quick Pick Crane Service
                        Attn: Pres., GP., or Mng. Mbr.
                        15 Royal Court
                        Shelton, CT 06484


                        A&P Coat, Apron & Linen Supply
                        Attn: Pres, GP or Mang Membr
                        Unitex Textile Rental
                        155 South Terrace
                        Mount Vernon, NY 10550


                        A-Lined Handling Systems, Inc.
                        Attn: Pres., GP., or Mng. Mbr.
                        92 Burnside Ave
                        East Hartford, CT 06108


                        A. Duie Pyle, Inc.
                        Attn: Pres., GP., or Mng. Mbr.
                        P.O. Box 564
                        West Chester, PA 19381-0564
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                    Aaron Luckett
                    Attn: Pres., GP., or Mng. Mbr.
                    1153 Oakhill St
                    Seffner, FL 33584


                    ABB Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 88868
                    Chicago, IL 60695-1868


                    Absolutely Knits, Inc.
                    Attn: Pres, GP or Mang Membr
                    260 Madison Avenue, Suite 8038
                    8th Floor
                    New York, NY 10016


                    Acme Cryogenic , Inc.
                    dba Cryogenics Experts
                    Attn: Pres., GP., or Mng. Mbr.
                    2801 Mitchell Ave
                    Allentown, PA 18103-7111


                    Adam Angel
                    Attn: Pres., GP., or Mng. Mbr.
                    592 N Stoneham Circle
                    Medford, OR 97504


                    Adhesive Products, Inc.
                    dba Adhesive Pro
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 6434
                    Fishers, IN 46038


                    ADP, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 842875
                    Boston, MA 02284-2875


                    Advanced Power Services, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    161 Woodford Avenue
                    Unit #1 - Box #4
                    Plainville, CT 06062
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                    Advanced Rooter Plumbing LLC
                    Attn: Pres, GP or Mang Membr
                    1 Pink Cloud Lane
                    Weston, CT 06883


                    Air Compressor Engineering Co.
                    Attn: Pres, GP or Mang Membr
                    17 Meadow Street
                    P.O. Box 738
                    Westfield, MA 01086


                    Airgas, Inc
                    dba Airgas USA, LLC
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 734445
                    Chicago, IL 60673-4445


                    Alan L Grant Polymer, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    150 Bousch Street , Suite 800
                    Norfolk, VA 23510


                    Albany Foam and Supply Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 416365
                    Boston, MA 02241-6365


                    Albany Valve & Fitting Co.
                    dba Swagelok Connecticut
                    Attn: Pres., GP., or Mng. Mbr.
                    120 S. Church Street
                    Schenectady, NY 12305


                    Alexandra W. Wilson
                    Attn: Pres, GP or Mang Membr
                    920 Park Ave, Apt 3D
                    New York, NY 10028


                    Alfa Adhesives, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    15 Lincoln Street
                    Hawthorne, NJ 07506
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                    Allstate Power Vac, Inc
                    dba ACV Enviro APV
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 674985
                    Detroit, MI 48267-4985


                    ALPI USA, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 21690
                    New York, NY 10087-1690


                    Alvarez & Marsal Private Equit
                    Attn: Pres, GP or Mang Membr
                    600 Madison Ave, 8th Floor
                    New York, NY 10022


                    Amanda Kay Crenshaw
                    Attn: Pres., GP., or Mng. Mbr.
                    180 Weston Road
                    Arden, NC 28704


                    AMC Group, Incorporated
                    dba Ace Maintenance
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 4841
                    Wichita Falls, TX 76308


                    American Cancer Society
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 42040
                    Oklahoma City, OK 73123


                    American Consumer Shows LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    6901 Jericho Tpke Ste 250
                    Syosset, NY 11791


                    American Excelsior Company
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 204836
                    Dallas, TX 75320


                    American Future Business Comp.
                    dba Progressive Business Comp.
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 3014
                    Malvern, PA 19355-9790
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                    American Refrigeration Co.
                    Attn: Pres, GP or Mang Membr
                    149 River Street, Suite 3
                    Andover, MA 01810


                    American Surplus Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    1 Noyes Avenue
                    East Providence, RI 02916


                    Andrea Jimenez Lopez
                    Attn: Pres., GP., or Mng. Mbr.
                    1771 1st Ave Apt 2
                    New York, NY 10128


                    Andrew Baker
                    Attn: Pres., GP., or Mng. Mbr.
                    529 Pine Warbler Way N
                    Palm Harbor, FL 34683


                    Angela Marie Cruzalegui
                    Save A Life Training
                    Attn: Pres., GP., or Mng. Mbr.
                    17 Oxley Dr
                    Wichita Falls, TX 76310


                    Anthem Life Insurance Co.
                    Department L-8111
                    Attn: Pres., GP., or Mng. Mbr.
                    220 Virginia Avenue
                    Indianapolis, IN 46204


                    Anthony Alfonso
                    Attn: Pres., GP., or Mng. Mbr.
                    6985 Seminole Blvd #29
                    Seminole, FL 33772


                    Anthony Chiusano
                    Attn: Pres., GP., or Mng. Mbr.
                    4441 NW Cove Circle
                    Port ST Lucie, FL 34983


                    AON Risk Services Northeast
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 7247-7376
                    Philadelphia, PA 19170-7376
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                    Aquarion Water Company of CT
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 10010
                    Lewiston, ME 04243-9427


                    Arbon Equipment Corp.
                    Attn: Pres., GP., or Mng. Mbr.
                    25464 Network Place
                    Chicago, IL 60673-1254


                    Arizona Department of Revenue
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 29085
                    Phoenix, AZ 85038-9085


                    Arizona Department of Revenue
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 29032
                    Phoenix, AZ 85038-9032


                    Arnold J. Davillier Jr
                    Attn: Pres., GP., or Mng. Mbr.
                    1328 Hancock St
                    Gretna, LA 70053


                    Arshad Corporation (Pvt) Lrd.
                    Tricon Corporate Ctr. 16th Fl.
                    Attn: Pres., GP., or Mng. Mbr.
                    Main Jail Road, Gulberg II
                    Lahore, WI 54660


                    Asbury Graphite
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 144
                    405 Old Main St
                    Asbury, NJ 08802-0144


                    Associated Volume Buyers, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    17542 17th Street, Ste. 250
                    Tustin, CA 92780-7939


                    AT&T
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 105414
                    Atlanta, GA 30348-5414
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                    AT&T
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 5019
                    Carol Stream, IL 60197-9005


                    AT&T
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 5019
                    Carol Stream, IL 60197-5019


                    AT&T
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 5019
                    Carol Stream, IL 60197-5019


                    AT&T
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 5019
                    Carol Stream, IL 60197-5019


                    AT&T
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 105414
                    Atlanta, GA 30348-5414


                    AT&T
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 105414
                    Atlanta, GA 30348-5414


                    AT&T
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 9005
                    Carol Stream, IL 60197-9005


                    AT&T Global
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 5091
                    Carol Stream, IL 60197-5091


                    AT&T TeleConference Svcs
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 5002
                    Carol Stream, IL 60197-5002
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                    Atlanta Attachment Company
                    Attn: Pres., GP., or Mng. Mbr.
                    362 Industrial Park Drive
                    Lawrenceville, GA 30046


                    Atlantic Equipment Engineers
                    Attn: Pres, GP or Mang Membr
                    24 Industrial Avenue
                    Upper Saddle River, NJ 07458


                    Atlantic Fasteners Co, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 1068
                    Agawam, MA 01001-6068


                    Atlantic Specialty Chemicals
                    Attn: Pres., GP., or Mng. Mbr.
                    317 Godwin Ave.
                    Midland Park, NJ 07432


                    Automated Convenience Serv.
                    Attn: Pres, GP or Mang Membr
                    29 Baer Circle
                    East HAven, CT 06512


                    Axle Logistics, LLC
                    Attn: Pres, GP or Mang Membr
                    520 W. Summit Hill Drive, Ste 1005
                    Knoxville, TN 37902


                    B. Dickson & Associates LLC
                    dba Dale Carnegie Training
                    Attn: Pres., GP., or Mng. Mbr.
                    21 Maple Street
                    Naugatuck, CT 06770


                    BASF Corporation
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 360941
                    Pittsburgh, PA 15251-6941


                    Baumer Of America, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    425 Route 202
                    Towaco, NJ 07082
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                    BDI
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 6286
                    Cleveland, OH 44194


                    Beyond Components, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    5 Carl Thompson Road
                    Westford, MA 01886


                    Biosan Laboratories, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    1950 Tobsal CT
                    Warren, MI 48091


                    Blackstone IMC Holding
                    OLLC WMCV Phase
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 741159
                    Los Angeles, CA 90074-1159


                    Blackstone IMC Holding - Q LLC
                    WMCV Phase 2 SPE, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 741153
                    Los Angeles, CA 90074-1153


                    Blackstone INC Holding - Q LLC
                    dba IMC License SPE, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 748912
                    Los Angeles, CA 90074-8912


                    Blake Equipment Company
                    Department 1340Attn: Pres., GP
                    Department 1340
                    PO Box 4110
                    Woburn, MA 01888-4110


                    Blake Owsley
                    Attn: Pres., GP., or Mng. Mbr.
                    2515 E Jeffrey Loop
                    Flagstaff, AZ 86004
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                    Blue -Grace Logistics LLC
                    Attn: Pres, GP or Mang Membr
                    Dept 108
                    PO Box 4964
                    Houston, TX 77210-4964


                    Boeing Distribution Services
                    dba The Hope Group
                    Attn: Pres., GP., or Mng. Mbr.
                    70 Bearfoot Rd, PO Box 840
                    Northborough, MA 01532


                    Bollore Logistics USA Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 276
                    Torrance, CA 90507


                    Borden & Remington Corporation
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 2573
                    63 Water Street
                    Fall River, MA 27220-2573


                    Brad A. Morey
                    Attn: Pres., GP., or Mng. Mbr.
                    1012 North PawPaw Street
                    Lawrence, MI 49064


                    Braiding Machines
                    Attn: Pres., GP., or Mng. Mbr.
                    08251 Santpedor
                    Barcelona, Spain


                    Braman Chemical Enterprises Inc
                    Attn: Pres, GP or Mang Membr
                    PO Box 368
                    Agawam, MA 01001-0368


                    Brenda Aiken
                    Attn: Pres., GP., or Mng. Mbr.
                    1501 Williston Rd
                    South Burlington, VT 05403


                    Bret Stern Productions
                    Attn: Pres., GP., or Mng. Mbr.
                    18 Leonard Street
                    Norwalk, CT 06850
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                    Brian Fee
                    Attn: Pres., GP., or Mng. Mbr.
                    23919 NE 132nd Avenue
                    Battle Ground, WA 98604


                    Brian Grable
                    Attn: Pres., GP., or Mng. Mbr.
                    17557 Queensland Street
                    Land O Lakes, FL 34638


                    Brian's Plumbing Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    901 Ohio Avenue
                    Wichita Falls, TX 76301


                    Brick Mountain
                    Attn: Pres., GP., or Mng. Mbr.
                    145 Hook Creek Blvd, Bldg B6d
                    Valley Stream, NY 11581


                    Bridget Lefort
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 55
                    Denham Springs, LA 70727


                    Buhler Aeroglide Corporation
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 29505
                    Raleigh, NC 27626-0505


                    BurkBurnett Ind School Dist.
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 608
                    416 Glendale Street
                    BurkBurnett, TX 76354


                    Burt Process Equipment Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 185100
                    Hamden, CT 06518


                    C & T Tarlton
                    T/A Nedco Conveyor Co. Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    967 Lehigh Ave
                    Union, NJ 08823
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                    C&H Fire Sprinkler LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    55 Red Stone Dr
                    Weatagae, CT 06089


                    C.H. Robinson Company
                    Attn: Pres, GP or Mang Membr
                    PO Box 9121
                    Minneapolis, MN 55480-9121


                    C.K.B. LLC.
                    Attn: Pres., GP., or Mng. Mbr.
                    32 Bunker Hill Circle
                    Shelton, CT 06484


                    C3 Creators LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    410 South Rampart
                    Ste 390
                    Las Vegas, NV 89145


                    CA - B.H.F.T.I. - DCA
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 942518
                    West Sacramento, CA 94258-0518


                    CA North Carolina Holdings Inc
                    PBM Brands
                    Attn: Pres., GP., or Mng. Mbr.
                    Dept 0709, PO Box 120709
                    Dallas, TX 75312-0709


                    CA-Franchise Tax Board
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 942857
                    Sacramento, CA 94257


                    Callahan Cutting Tools, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    915A Distribution Drive
                    Columbus, OH 43228


                    Calvert Safe & Lock Limited
                    Attn: Pres., GP., or Mng. Mbr.
                    300 Roosevelt Dr
                    Derby, CT 06418-1667
Case 19-51064   Doc 1   Filed 08/08/19   Entered 08/08/19 16:44:51   Page 24 of 88



                    Canteen Refreshment Service
                    Attn: Pres, GP or Mang Membr
                    PO Box 417632
                    Boston, MA 02241-7632


                    Capitol Squash
                    Attn: Pres., GP., or Mng. Mbr.
                    300 Summit Street
                    Box 702611
                    Hartford, CT 06106


                    Carbon Filtration Systems,Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    68 Mill Street
                    Johnston, RI 02919


                    Cargo Management Group
                    Attn: Pres., GP., or Mng. Mbr.
                    11190 NW 25th St
                    Suite 130
                    Miami, FL 33172


                    Carter-McLeod Paper & Packaging Co
                    Attn: Pres, GP or Mang Membr
                    136 Wayside Avenue
                    West Springfield, MA 01089-1318


                    Cassandra M. Davis
                    Attn: Pres., GP., or Mng. Mbr.
                    21 Warbler Lane
                    Durham, NC 27712


                    Cecilia A. Howe
                    Attn: Pres., GP., or Mng. Mbr.
                    2001 Oak Creek Rd Apt A 108
                    River Ridge, LA 70123


                    Central Scale Company
                    Attn: Pres., GP., or Mng. Mbr.
                    2027 Elmwood Ave
                    P.O. Box 8886
                    Warwick, RI 02888-2403
Case 19-51064   Doc 1   Filed 08/08/19   Entered 08/08/19 16:44:51   Page 25 of 88



                    Centrotrade Rubber USA, Inc.
                    Attn: Pres, GP or Mang Membr
                    676 Independance Parkway
                    Ste 110
                    Chesapeake, VA 23320


                    Chad McCullough
                    Attn: Pres., GP., or Mng. Mbr.
                    226 Lois Drive
                    Battle Creek, MI 49015


                    Chad Rowen
                    Attn: Pres., GP., or Mng. Mbr.
                    3401 N. Navajo Drive
                    Prescott Valley, AZ 86314


                    Charles A. Alegi Jr.
                    dba CMA Carpentry
                    Attn: Pres., GP., or Mng. Mbr.
                    269 Wooster Street
                    Naugatuck, CT 06770


                    Charles Albritton Roberts
                    Attn: Pres., GP., or Mng. Mbr.
                    7610 Lunar Drive
                    Austin, TX 78745


                    Charles F Thomas Jr
                    Attn: Pres., GP., or Mng. Mbr.
                    1808 Springwater Way
                    Lithonia, GA 30058


                    Charles James De Vito
                    Attn: Pres., GP., or Mng. Mbr.
                    5807 Topanga Cyn Blvd A304
                    Woodland Hills, CA 91367


                    Charles M Appel
                    Attn: Pres., GP., or Mng. Mbr.
                    6470 Dawson Blvd
                    Nacross, GA 30093


                    Charter Oak Building Mainten.
                    Attn: Pres, GP or Mang Membr
                    Po Box 257
                    Cromwell, CT 06416
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                    Chase Lefort
                    Attn: Pres., GP., or Mng. Mbr.
                    17701 Sumalake Drive
                    Apt A103
                    Livingston, LA 70754


                    Christina Marie Amato
                    Attn: Pres., GP., or Mng. Mbr.
                    8550 W Charlston Blvd
                    Ste 102-277
                    Las Vegas, NV 89117


                    Christopher James Manor
                    Attn: Pres., GP., or Mng. Mbr.
                    221 Irving Way
                    Durham, NC 27703


                    Christopher Podgorski
                    Attn: Pres., GP., or Mng. Mbr.
                    9405 Crescent Loop Circle #202
                    Tampa, FL 33619


                    CIGNA HealthCare
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 13701
                    Philadelphia, PA 19101-3701


                    CIGNA HealthCare
                    Attn: Pres, GP or Mang Membr
                    140 East 45th Street
                    38th Floor
                    New York, NY 10017


                    City of Shelton
                    Attn: Pres., GP., or Mng. Mbr.
                    54 Hill Street
                    PO Box 273
                    Shelton, CT 06484


                    Clarke Brothers Packaging, LLC
                    Attn: Pres, GP or Mang Membr
                    125 Old Gate Lane
                    Milford, CT 06460
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                    Clay Walton Rea
                    dba Riverside Furniture
                    Attn: Pres., GP., or Mng. Mbr.
                    1580 Greensboro Road
                    Martinsville, VA 24112


                    Clearwater Industries
                    Attn: Pres, GP or Mang Membr
                    415 Bridgeport Avenue
                    Shelton, CT 06484


                    Coastal Mechanical Services
                    Attn: Pres., GP., or Mng. Mbr.
                    40 Hathway Drive
                    Stratford, CT 06615


                    COFACE North America Ins., Co.
                    Attn: Pres., GP., or Mng. Mbr.
                    Lockbox 10116
                    PO Box 70280
                    Uniondale, NJ 11555


                    CohnReznick, LLP
                    Attn: Pres., GP., or Mng. Mbr.
                    350 Church Street
                    Hartford, CT 06103-1136


                    Coils Express
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 600
                    Branford, CT 06405-0600


                    Collins Pipe & Supply Co.
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 1053
                    East Windsor, CT 06088


                    Colonial LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 148
                    536 Townsend Avenue
                    High Point, NC 27261


                    Colorado Business Bank
                    Attn: Pres., GP., or Mng. Mbr.
                    15710 W Colfax Ave
                    Golden, CO 80401
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                    Comcast
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 70219
                    Philidelphia, PA 19176-0219


                    Comely Int'l Trading Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    303 Fifth Avenue, Ste 1903
                    New York, NY 10016


                    Commisioner of Revenue Service
                    Department of Revenue Services
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 5089
                    Hartford, CT 06102-5089


                    Commissioner of Revenue Services
                    Dept. of Revenue Services
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 2936
                    Hartford, CT 06104-2936


                    Commonwealth of Massachusetts
                    Dept of Public Health, Div of Food
                    Attn: Pres., GP., or Mng. Mbr.
                    305 South Street
                    Jamaica Plain, MA 02130


                    Commonwealth of Virginia
                    Department of Health
                    Attn: Pres., GP., or Mng. Mbr.
                    Richmond, VA 23219


                    Compliance Professionals, Inc.
                    Attn: Pres, GP or Mang Membr
                    23 Brinton Hill Road
                    Falls Village, CT 06031


                    Comptroller of Maryland
                    Revenue Administrations Div.
                    Attn: Pres., GP., or Mng. Mbr.
                    110 Carroll Street
                    Annapolis, MD 21411-0001
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                    Comptroller of Public Accounts
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 149348
                    Austin, TX 78714-9348


                    Concentra Medical Centers
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 20220
                    Cranston, RI 02920-0942


                    Continental Marketing Inc
                    Attn: Pres, GP or Mang Membr
                    18175 SW 100th Court
                    Tualatin, OR 97062


                    Copiers Plus Worldwide, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    7365 Main Street #122
                    Stratford, CT 06614


                    Corporation Service Company
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 13397
                    Philadelphia, PA 19101-3397


                    Cox Business
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 53262
                    Phoenix, AZ 85072-3262


                    Craig Alan Dobson
                    MRD Distributing
                    Attn: Pres., GP., or Mng. Mbr.
                    6265 Midnight Pass
                    Siesta Key, FL 34242


                    Creative Financial Staffing
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 95111
                    Chicago, IL 60694-5111


                    Cryogenic Experts, Inc.
                    Acme Cryogenics
                    Attn: Pres., GP., or Mng. Mbr.
                    2801 Mitchell Ave
                    Allentown, PA 18103
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                    Crystal Rock Water Co., Inc.
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 660579
                    Dallas, TX 75266-0579


                    CT - Bureau of Elevato
                    Attn: Pres., GP., or Mng. Mbr.
                    450 Columbus Blvf - Suite 1303
                    Hartford, CT 06103


                    CT Emergency Medicine Spec.
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 2699, Dept 200
                    Hartford, CT 06146-2699


                    Cushman & Wakefield, Inc
                    107 Elm Street
                    Four Stamford Plaza, 8th
                    Attn: Pres., GP., or Mng. Mbr.
                    Stamford, CT 06902-3851


                    D&B-Dun & Bradstreet, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    75 Remittance Drive, Ste. 179
                    PO Box 75434
                    Chicago, IL 60675-5434


                    Dalton Busby
                    Attn: Pres., GP., or Mng. Mbr.
                    1704 A Constantino Cir
                    Austin, TX 78745


                    Dana Transport, Inc.
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 74286
                    Cleveland, OH 07001


                    Danley Mechanical Contractors, Inc.
                    Attn: Pres, GP or Mang Membr
                    143 Rock Lane
                    Milford, CT 06460


                    Dave Maloney
                    Attn: Pres., GP., or Mng. Mbr.
                    510 Rosemont Ave
                    Canton, GA 30115
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                    David Brown dbd Dave's Bug Pro
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 9486
                    Wichita Falls, TX 76308


                    DCJ, LLC - Aztec Office
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 93
                    Brattleboro, VT 05302-0093


                    DE - Secretary of State
                    Division of Corporations
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 5509
                    Binghamton, NY 13902-5509


                    Deltacom Corporation
                    Attn: Pres., GP., or Mng. Mbr.
                    11A Old Bradley Street
                    East Haven, CT 06512-2344


                    Department of Business Reg.
                    Div of Commercial Licensing
                    Attn: Pres., GP., or Mng. Mbr.
                    1511 Pontiac Ave., Bldg. 69-1
                    Cranston, RI 02920


                    Department of Revenue
                    Attn: Pres., GP., or Mng. Mbr.
                    PO BOX 751
                    Baton Rouge, LA 70821-0751


                    Department of the Treasury
                    Internal Revenue Service
                    Attn: Pres., GP., or Mng. Mbr.
                    Ogden, UT 8421-0009


                    Dept of Economic & Comm Dev.
                    Finance Division, State of CT
                    Attn: Pres., GP., or Mng. Mbr.
                    505 Hudson Street
                    Hartford, CT 06106-7107


                    Dept of Revenue Services
                    Attn: Pres., GP., or Mng. Mbr.
                    25 Sigourney Street
                    Hartford, CT 06106
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                    Dept of Revenue Svcs
                    State of Connecticut
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 2936
                    Hartford, CT 06104-2936


                    Dept of Revenue Svcs
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 2936
                    Hartford, CT 06104-2965


                    Dept. of Agriculture and Food
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 146500
                    Satl Lake City, UT 84114-6500


                    Dept. of Consumer Protection
                    Attn: Pres., GP., or Mng. Mbr.
                    165 Capitol Avenue
                    Hartford, CT 06106


                    Derby Freightlines LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    169 Derby Avenue
                    Derby, CT 06418


                    DeWolf Chemical, LLC.
                    Attn: Pres, GP or Mang Membr
                    PO Box 842472
                    Boston, MA 02284-2472


                    Dietz Electric Co Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    4329 W Lincoln Ave
                    Milwaukee, WI 53219


                    DIM Rosenheim
                    Attn: Pres., GP., or Mng. Mbr.
                    Hochschulstrade 1
                    Rosenheim, .. 83024


                    Direct Energy Business
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 32179
                    New York, NY 10087-2179
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                    DIRECTV
                    Attn: Pres, GP or Mang Membr
                    DirectTV
                    PO Box 5006
                    Carol Stream, IL 60197-5006


                    Dittman & Greer, Inc.
                    Attn: Pres, GP or Mang Membr
                    PO Box 1170
                    Garden City Park, NY 11040


                    Diversified Employment Svs.
                    Attn: Pres., GP., or Mng. Mbr.
                    270 Amity Road
                    Suite 224
                    Woodbridge, CT 06525


                    Diversified Pump & Compressor
                    Attn: Pres., GP., or Mng. Mbr.
                    24 Commercial Drive
                    Brentwood, NH 03833


                    Diversified Testing Lab.
                    Attn: Pres., GP., or Mng. Mbr.
                    336 West Front Street
                    PO Box 4004
                    Burlington, NC 27215


                    Donald A Marzcuff
                    Attn: Pres., GP., or Mng. Mbr.
                    1200 St James Place
                    Loganville, GA 30052


                    Donald D Rutledge
                    dba Rutledge Plumbing
                    Attn: Pres., GP., or Mng. Mbr.
                    1120 Sheppard Rd.
                    Burkburnett, TX 76354


                    Donald Guthrie Foundation
                    Attn: Pres., GP., or Mng. Mbr.
                    1 Guthrie Square
                    Sayre, PA 18840
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                    DXP Enterprise Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 201791
                    Dallas, TX 75320-1791


                    E&E Bedding/Spring Air
                    Attn: Pres., GP., or Mng. Mbr.
                    124 Second Street
                    Chelsea, MA 02150


                    E.J. Schrader Co., Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    6601 Norton Avenue
                    West Palm Beach, FL 33405


                    E.T. Oakes Corp
                    686 Old Willets PathAttn: Pres
                    686 Old Willets Path
                    Hauppauge, NY 11788-4102


                    Eagle Elevator Company, Inc.
                    Attn: Pres, GP or Mang Membr
                    176 Norfolk Avenue
                    Boston, MA 02119


                    Eagle Leasing Company
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 923
                    Orange, CT 06477


                    Eagle Rivit Roof Service Corp.
                    Attn: Pres., GP., or Mng. Mbr.
                    15 Britton Drive
                    Bloomfield, CT 06002


                    Echo Hose Ambulance Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 213
                    Shelton, CT 06484


                    ECO-Institute GmbH
                    Attn: Pres., GP., or Mng. Mbr.
                    Sachsenring 69
                    50677 Koln, .. 50677
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                    Edgar M. Montanile
                    Attn: Pres., GP., or Mng. Mbr.
                    27045 Falcon CT # 202
                    Wesley Chapel, FL 33544


                    Edge-Sweets Company
                    Attn: Pres., GP., or Mng. Mbr.
                    2887 Three Mile Road, NW
                    Grand Rapids, MI 49534-1386


                    Edgerton Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 304
                    786 Main St
                    Monroe, CT 06468-0304


                    Edward Delaney
                    Attn: Pres., GP., or Mng. Mbr.
                    1204 S 5th Ave
                    Kelso, WA 98626


                    Element Materials Technology
                    Attn: Pres., GP., or Mng. Mbr.
                    662 Cromwell Ave
                    St Paul, MN 55114


                    ELFA International
                    Attn: Pres., GP., or Mng. Mbr.
                    131 West 35th St
                    3rd Floor
                    New York, NY 10001


                    Elm City Capital, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    35 Philmack Drive
                    Middletown, CT 06457


                    Employer's Reference Source
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 7019
                    Prospect, CT 06712


                    Encapsys, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 419195
                    Boston, MA 02241
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                    EntIT Software LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 8374
                    Pasadena, CA 91109-8374


                    Entrepreneur Growth Capital
                    Attn: Pres., GP., or Mng. Mbr.
                    505 Park Avenue, 6th Floor
                    New York, NY 10022


                    Entrepreneur Growth Capital
                    Attn: Pres., GP., or Mng. Mbr.
                    505 Park Avenue
                    New York, NY 10022


                    Eraldo L Maglara Jr.
                    Attn: Pres., GP., or Mng. Mbr.
                    102 Chardon Ct
                    Morganville, NJ 07751


                    Eric L. Huber
                    Attn: Pres., GP., or Mng. Mbr.
                    17204 Viking Way NW
                    Poulsbo, WA 98370


                    Eriez Manufacturing Co.
                    Attn: Pres., GP., or Mng. Mbr.
                    2200 Asbury Rd.
                    Erie, PA 16506


                    Esco, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    315 Burr Road
                    Cornish, NH 03745


                    Eugene Christopher Clark
                    Attn: Pres., GP., or Mng. Mbr.
                    12063 Citrus Falls Circle #30
                    Tampa, FL 33625


                    Eugene R Gasparri
                    Gasparri Construction LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    1 Red Fox Run
                    Wolcott, CT 06716
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                    Evans Enterprises, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    2707 Cenral Freeway East
                    PO Box 1088
                    Norman, OK 73070


                    Eversource
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 650034
                    Dallas, TX 75265-0034


                    Evoque Data Center Solutions
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 9005
                    Carol Stream, IL 60197-9005


                    Express Services, Inc.
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 203901
                    Dallas, TX 75320-3901


                    F.W. Webb Company
                    Attn: Pres., GP., or Mng. Mbr.
                    160 Middlesex Turnpike
                    Bedford, MA 01730


                    Fabrizio and Associates Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    3801 Chanticleer Ct
                    Tallahassee, FL 32311


                    Farrell Design Communications
                    Attn: Pres., GP., or Mng. Mbr.
                    456 Judd Road
                    Southbury, CT 06488


                    Fecken-Kirfel America, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    6 Leighton Place
                    Mahwah, NJ 07430-3119


                    FedEx
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 371461
                    Pittsburgh, PA 15250-7461
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                    FedEx
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 223125
                    Pittsburgh, PA 15251-2125


                    FedEx Freight
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 223125
                    Pittsburgh, PA 15251-2125


                    Fidelity Investments Inst.
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 73307
                    Chicago, IL 60673-7307


                    Fifth Third Bank
                    Attn: Pres., GP., or Mng. Mbr.
                    38 Fountain Square Plaza
                    Cincinnati, OH 45263


                    Fifth Third Bank-Credit Card
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 740523
                    Cincinnati, OH 45274-0523


                    Fillmatic Polsterindustrie
                    Maschinen Gmb
                    Attn: Pres., GP., or Mng. Mbr.
                    Rudolf-Diesel-Str. 22
                    D-68169 MANNHEIM, .. D-68169


                    Fire Protection Alarms, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    1701 Highland Ave #4
                    Chesire, CT 06401


                    Fire Protection Testing, Inc.
                    Attn: Pres, GP or Mang Membr
                    1701 Highland Ave #4
                    Chesire, CT 06401


                    First Bank
                    Attn: Pres., GP., or Mng. Mbr.
                    4110 Kell Blvd.
                    Wichita Falls, TX 76309
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                    First Insurance Funding Corp.
                    Attn: Pres., GP., or Mng. Mbr.
                    450 Skokie Blvd., Suite 100
                    P.O. Box 7000
                    Carol Stream, IL 60197-7000


                    Fleischmann's Vinegar Company
                    Attn: Pres., GP., or Mng. Mbr.
                    12604 Hiddencreek Way, Ste A
                    Cerritos, CA 90703


                    Florida Department of Revenue
                    Attn: Pres., GP., or Mng. Mbr.
                    5050 W. Tennessee St.
                    Tallahassee, FL 32399-0128


                    Forbo Siegling LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 60943
                    Charlotte, NC 28260


                    Forster Precision Tool LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    591 North Main Street
                    Seymour, CT 06483


                    Fracht FWO Inc
                    Attn: Pres, GP or Mang Membr
                    Attn: A/R
                    16701 Greenspoint Park Dr, Ste 300
                    Houston, TX 77060


                    Franchise Tax Board
                    State of California
                    Attn: Pres., GP., or Mng. Mbr.
                    P O Box 2952
                    Sacramento, CA 95812-2952


                    Frank's Vacuum Truck Service, Inc.
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 8000
                    Dept No. 241
                    Niagara Falls, NY 14267
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                    FreightSaver LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 682909
                    Franklin, TN 37068-2909


                    Friends of 2GHG
                    Attn: Pres., GP., or Mng. Mbr.
                    4 Wildlife Drive
                    Newtown, CT 06470


                    Frontier Communications
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 740407
                    Cincinati, OH 45274-0407


                    FT Media Holdings, LLC
                    Progressive Business Media
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 602941
                    Charlotte, NC 28260-2941


                    Furniture Manufacturing Credit
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 5929
                    Highpoint, NC 27262


                    Furniture Marketing Group
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 2582
                    High Point, NC 27261-2582


                    Furniture Today
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 16659
                    North Hollywood, CA 91615-9634


                    Fuss & O'Neill Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    146 Hartford Rd
                    Manchester, CT 06040-5921


                    G.F. Studio Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    540 Ravine Court
                    Wyckoff, NJ 07481
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                    GA Department of Revenue
                    Attn: Pres., GP., or Mng. Mbr.
                    Processing Center
                    PO Box 740239
                    Atlanta, GA 30374-0239


                    General Air Products, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 1387
                    West Chester, PA 19380-0028


                    Geoffrey G. Smith
                    Attn: Pres., GP., or Mng. Mbr.
                    13323 Blinn Street
                    San Antonio, TX 78249


                    Glenn Haber
                    Attn: Pres., GP., or Mng. Mbr.
                    7501 142nd Avenue N #446
                    Largo, FL 33771


                    Global Pallet Solutions, LLC
                    Attn: Pres, GP or Mang Membr
                    271 John Downey Drive
                    New Britain, CT 06051


                    Goodyear Tire & Rubber Co.
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 100605
                    Atlanta, GA 30384-0605


                    GR Engineering LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    26 Manchester Heights
                    Winsted, CT 06098


                    Graphic Visions Unlimited Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    800 Port 14 Place
                    Atlanta, GA 30349


                    Great American Group Advisory
                    Attn: Pres., GP., or Mng. Mbr.
                    21255 Burbank Blvd, Suite 400
                    Woodland Hills, CA 91367
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                    Greater Valley Chamber of Com.
                    Attn: Pres., GP., or Mng. Mbr.
                    10 Progress Drive
                    2nd Floor
                    Shelton, CT 06484


                    Gregory Berry
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 171
                    Union, ME 04862


                    Griffin Hospital Business Office
                    Attn: Pres., GP., or Mng. Mbr.
                    130 Division Street
                    Derby, CT 06418-2398


                    GS1 US, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    Dept. 781271
                    PO Box 78000
                    Detroit, MI 48278-1271


                    Halloran & Sage LLP
                    Attn: Pres., GP., or Mng. Mbr.
                    225 Asylum Street
                    Hartford, CT 06103


                    Hamilton Connections Inc
                    Attn: Pres, GP or Mang Membr
                    1602 Main Street
                    East Hartford, CT 06108


                    Hand Held Products, Inc
                    Attn: Pres, GP or Mang Membr
                    62408 Collections Center Dr
                    Chicago, IL 60693-0624


                    Hanes Engineered Materials
                    Attn: Pres, GP or Mang Membr
                    PO Box 60984
                    Charlotte, NC 28260


                    Hapag-Lloyd (America) Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    5515 Spalding Drive
                    Peachtree Corners, GA 30092
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                    Happy International Corp
                    Attn: Pres., GP., or Mng. Mbr.
                    147-48 175th Street
                    Jamaica, NY 11434


                    Heritage-Crystal Clean, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    13621 Collections Center Drive
                    Chicago, IL 60693-0136


                    Herve Nyange-Mwamba
                    Attn: Pres., GP., or Mng. Mbr.
                    51 City Hill Street
                    1st Floor
                    Naugatuck, CT 06770


                    HESCO, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    30 Inwood Road, Suite One
                    Rocky HIll, CT 06067-3438


                    Hickory Springs Manufacturing
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 603319
                    Charlotte, NC 28260-3319


                    Hinckley, Allen & Snyder LLP
                    Attn: Pres., GP., or Mng. Mbr.
                    100 Westminster St, Ste 1500
                    Providence, RI 02903-2319


                    Hisco Pump Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    4 Mosey Drive
                    Bloomfield, CT 06002


                    Home Depot Credit Services
                    Attn: Pres., GP., or Mng. Mbr.
                    Dept 32-2500554328
                    P.O. Box 78047
                    Phoenix, AZ 85062-8047


                    HorstCraft Millworks, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    272 Mill Road
                    Richfield, PA 17086
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                    Houghton Chemical Corp
                    Attn: Pres., GP., or Mng. Mbr.
                    52 Cambridge St
                    PO Box 307
                    Allston, MA 02134


                    Hugh B. Swainbank
                    Attn: Pres., GP., or Mng. Mbr.
                    31 White Oak Rd
                    Woodbury, CT 06798


                    Humongous Media, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 196
                    Lexington, MA 02420


                    Hybrid Media Services LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    357 Main Street
                    2nd Floor
                    Armonk, NY 10504


                    Hydrosil International Limited
                    Attn: Pres., GP., or Mng. Mbr.
                    125 Prairie Lake Rd
                    East Dundee, IL 60118-9126


                    HYG Financial Services Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. BOX 14545
                    Des Moines, IA 50306-3545


                    Hyperbolous, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    420 Lexington Avenue
                    Suite 2440
                    New York, NY 10170


                    Ian Morrison
                    Attn: Pres., GP., or Mng. Mbr.
                    6 Sherry Rd
                    So Burlington, VT 05403


                    IFM Efector Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 8538-307
                    Philadelphia, PA 19717-0307
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                    IFS (NY), Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    147-32 Farmers Blvd, 2nd Fl
                    Janaica, NY 11434


                    Illinois Sleep Products, Inc
                    Attn: Pres, GP or Mang Membr
                    3535 W. 47th Street
                    Chicago, IL 60632


                    Indiana Department of Revenue
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 7226
                    Indianapolis, IN 46207-7226


                    Industrial Components of CT
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 605
                    Botsford, CT 06404-0605


                    Industrial Hydraulic Service
                    Attn: Pres., GP., or Mng. Mbr.
                    165 Dodge Avenue
                    Stratford, CT 06615


                    Industrial Sales and Distribution
                    Attn: Pres, GP or Mang Membr
                    PO Box 394
                    Westerly, RI 02891


                    Industrial Steel & Boiler Services
                    Attn: Pres., GP., or Mng. Mbr.
                    939 Chicopee Street
                    Suite 2
                    Chicopee, MA 01013


                    Infinity Yarn Company LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    1530 Kirkpatrick Road
                    Burlington, NC 27215


                    Info-Power International, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    3345 Silverstone Drive
                    Suite B
                    Plano, TX 75023
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                    Ingrid Prueher
                    Ingrid Baby Sleep Whisperer
                    Attn: Pres., GP., or Mng. Mbr.
                    66 Baver Brook Lane
                    Fairfield, CT 06825


                    Ink Publishing Corporation
                    Attn: Pres., GP., or Mng. Mbr.
                    800 South Douglas Rd
                    Suite 250
                    Coral Gables, FL 33134


                    Interface Advanced Forced
                    Attn: Pres., GP., or Mng. Mbr.
                    7401 East Butherus Dr
                    Scottsdale, AZ 85260


                    Internal Revenue Service
                    Attn: Pres., GP., or Mng. Mbr.
                    Cincinnati, OH 45999-0045


                    International Sleep Products
                    Attn: Pres, GP or Mang Membr
                    501 Wythe Street
                    Alexandria, VA 22314-1917


                    iQuest, Inc.
                    Attn: Pres, GP or Mang Membr
                    11602 Perpetual Drive
                    Odessa, FL 33556


                    Iron Mountain Inc
                    c/o Autonomy
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 8374
                    Pasadena, CA 91109-8374


                    Ironwood Bed Frames & Mattress
                    Attn: Pres., GP., or Mng. Mbr.
                    3416 West Flower Street
                    Phoenix, AZ 85017


                    ISPA Publications
                    Attn: Pres., GP., or Mng. Mbr.
                    501 Wythe Street
                    Alexandria, VA 22314-1917
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                    J. Smith Lanier & Co.
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 16965
                    Atlanta, GA 30321-6965


                    James Caprio
                    dba Jim's Ice Cream
                    Attn: Pres., GP., or Mng. Mbr.
                    388 North Main Street
                    Seymour, CT 06483


                    James Grantham
                    Attn: Pres., GP., or Mng. Mbr.
                    10632 Hermosa Dr
                    Dallas, TX 75218


                    James R. O'Harrow
                    Attn: Pres., GP., or Mng. Mbr.
                    13983 Royal Melbourne Sq.
                    San Diego, CA 92128


                    James Schreiber
                    Attn: Pres., GP., or Mng. Mbr.
                    2713 Orchard Home Drive
                    Medford, OR 97501


                    James V. McTevia Consulting
                    Attn: Pres., GP., or Mng. Mbr.
                    2401 PGA Boulevard
                    Suite 196
                    Palm Beach Gardens, FL 33410


                    James V. Siragusa
                    Attn: Pres, GP or Mang Membr
                    Stratagem Consulting, LLC
                    182 W. Lakeview Drive NE
                    Milledgeville, GA 31061


                    Jamie Feldkamp
                    Attn: Pres., GP., or Mng. Mbr.
                    120 Caryl Way #120
                    Oldsmar, FL 34677


                    Jane Creative Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    108 W, 39th Street, Ste 1200
                    New York, NY 10018
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                    Janet Speranza-Moran
                    Attn: Pres., GP., or Mng. Mbr.
                    120 Leighton Street
                    Bangor, ME 04412


                    Janis O'Kelley
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 64
                    Garrison, TX 75946


                    Jason L. Pauley
                    Attn: Pres., GP., or Mng. Mbr.
                    65 Dewdrop Ln
                    Waldoboro, ME 04572


                    Jason W. Smith dba TIS Ansonia
                    Attn: Pres, GP or Mang Membr
                    30 Maple Street
                    Ansonia, CT 06401-1230


                    Jason Wyrick Leonard
                    Attn: Pres., GP., or Mng. Mbr.
                    1971 Sloop Point Loop Road
                    Hampstead, NC 28443


                    Jeff Scheuer
                    Attn: Pres., GP., or Mng. Mbr.
                    51260 Van Dyke Ave.
                    Shelby Township, MI 48316


                    Jeffco Fibres, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 816
                    Webster, MA 01570


                    Jeffrey Cobb
                    Attn: Pres., GP., or Mng. Mbr.
                    3 Canteberi Court
                    Asheville, NC 28806


                    Jennifer Costa
                    Attn: Pres., GP., or Mng. Mbr.
                    510 River Rd
                    Shelton, CT 06484
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                    Jess Larson
                    Attn: Pres., GP., or Mng. Mbr.
                    4313 NE 136th Ave
                    Vancouver, WA 98682


                    JJS Global Ventures Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    1900 E. Golf Rd. Ste 950
                    Schaumburg, IL 60173


                    Joe David Morris
                    Attn: Pres, GP or Mang Membr
                    A-1 Fire Extinguisher Company
                    PO Box 4818
                    Wichita Falls, TX 76308


                    Joel Jalbert
                    Attn: Pres., GP., or Mng. Mbr.
                    1917 Sixty Oaks Lane
                    Vero Beach, FL 32966


                    John Joseph Overbeck
                    Attn: Pres., GP., or Mng. Mbr.
                    5547 Raymond Way
                    Zephyrhills, FL 33541


                    John Lewis Crain
                    Attn: Pres., GP., or Mng. Mbr.
                    14408 SE 8th Street
                    Van Couver, WA 98633


                    John Matthew Reifsnider
                    Attn: Pres., GP., or Mng. Mbr.
                    8301 Royal Sand Cir, Apt 209
                    Tampa, FL 33615


                    John Morris
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 814
                    La Center, WA 98629


                    John P. Pitts
                    Attn: Pres., GP., or Mng. Mbr.
                    4550 Glissade Drive
                    New Port Richey, FL 34652
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                    John Schindler
                    Attn: Pres., GP., or Mng. Mbr.
                    416 Elbridge Drive
                    Raleigh, NC 27603


                    John T Kurilla
                    JKK Associates
                    Attn: Pres., GP., or Mng. Mbr.
                    1 Lewis Drive
                    Madison, NJ 07940


                    Jonathan Pleasants
                    Attn: Pres., GP., or Mng. Mbr.
                    400 Meghan Court
                    Apt 11
                    Acworth, GA 30102


                    Jose Botello
                    Attn: Pres., GP., or Mng. Mbr.
                    1530 Park Newport
                    Newport Beach, CA 92660


                    Jose Espinoza
                    dba J and J Pallets
                    Attn: Pres., GP., or Mng. Mbr.
                    116 Coram Avenue
                    Shelton, CT 06484


                    Joshua A. Teunis
                    Attn: Pres., GP., or Mng. Mbr.
                    1318 Indian Trail South
                    Palm HArbor, FL 34683


                    Jozsef Hajdu
                    Attn: Pres., GP., or Mng. Mbr.
                    1719 Split Fork Drive
                    Oldsmar, FL 34677


                    Judy Maloney
                    Attn: Pres., GP., or Mng. Mbr.
                    5193 Hickory Bend Terrace
                    Woodstock, GA 30188
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                    Julia Stambules
                    Attn: Pres, GP or Mang Membr
                    JS Public Relations LLC
                    95 Lincoln Ave
                    Tuckahoe, NY 10707


                    Katharine Gallo
                    Daydream Communications, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    4 Overlook Road
                    Norwalk, CT 06851


                    Kathryn Magee
                    Attn: Pres., GP., or Mng. Mbr.
                    507 Yale Place
                    Bossier City, LA 71111


                    Keith E. Fickenwirth
                    Attn: Pres., GP., or Mng. Mbr.
                    1500 Dittmer Cir SE
                    Palm Bay, FL 32909


                    Kennedy Gustafson and Cole
                    Attn: Pres., GP., or Mng. Mbr
                    100 White Oak Drive
                    Berlin, CT 06037


                    Kentucky State Treasurer
                    Department of Revenue
                    Attn: Pres., GP., or Mng. Mbr.
                    1050 US-127 #100
                    Frankfort, KY 40620-0021


                    Kenzie & Company LLC
                    Attn: Pres, GP or Mang Membr
                    6161 Oak Tree Blvs, Ste 300
                    Independance, OH 44131


                    Keystone Foam Corp
                    Attn: Pres, GP or Mang Membr
                    PO Box 355
                    Loyalhanna, PA 15661


                    Kismet Rubber Products Corp.
                    Attn: Pres., GP., or Mng. Mbr.
                    49 Ackerman Street
                    Bloomfield, NJ 07003
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                    KM Media Group LLC
                    DBA Kay Printing
                    Attn: Pres., GP., or Mng. Mbr.
                    220 Entin Rd
                    Clifton, NB 07014


                    Knights of Columbus Council #1350
                    Attn: Pres., GP., or Mng. Mbr.
                    18 Bruce Drive
                    Shelton, CT 06484


                    Kore Insurance Holdings, LLC.
                    Attn: Pres., GP., or Mng. Mbr.
                    354 Eisenhower Parkway
                    Livingston, NJ 07039


                    Krayden, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    1491 West 124th Ave
                    Denver, CO 80234


                    Kuehne & Nagel Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    10 Exchanhe Place CHB#4455
                    Ocean Export
                    Jersey City, NJ 07302


                    Kurtis Myers
                    Attn: Pres., GP., or Mng. Mbr.
                    624 E Route 66
                    Flagstaff, AZ 86001


                    L-Tron Corporation
                    Attn: Pres., GP., or Mng. Mbr.
                    7911 Lehigh Crossing, Suite 6
                    Victor, NY 14564


                    Landaal Packaging Systems
                    Attn: Pres., GP., or Mng. Mbr.
                    3256 B Iron Street
                    Burton, MI 48529


                    Latex Foam Assets Acquistion
                    510 River Road
                    Shelton, CT 06484
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                    Latex Foam Intern. Holdings
                    510 River Road
                    Shelton, CT 06484


                    Latex Foam International
                    Holdings, LLC


                    Latex Foam International LT
                    c/o McTevia & Associates
                    Attn: Pres., GP., or Mng. Mbr.
                    30150 Telegraph Road, Ste.155
                    Bingham Farms, MI 48025


                    Lawrence Aleksandrich
                    Attn: Pres., GP., or Mng. Mbr.
                    33 Monroe Avenue
                    Carteret, NJ 07008


                    Leadership Strategies, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    211 Perimeter Center Parkway
                    Ste 325
                    Atlanta, GA 30346


                    Lebanon Apparel Corporation
                    Attn: Pres, GP or Mang Membr
                    70 Thornhill Drive
                    Lebanon, VA 24266


                    Lee's Mattress Inc
                    DBA HB Mattress Store
                    Attn: Pres., GP., or Mng. Mbr.
                    19431 Beach Blvd
                    Huntington, CA 92648


                    Les Tricots Maxime Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    828 rue Deslauriers
                    Montreal, QC H4N 1X1


                    Liberty Mutual Insurance
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 1449
                    New York, NY 10116-1449
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                    Linda Nowicki Clarke
                    Attn: Pres., GP., or Mng. Mbr.
                    80 Buckfield Lane
                    Greenwich, CT 06831


                    Livingston International, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 950
                    Buffalo, NY 14213


                    Lori T. Marcus
                    Attn: Pres, GP or Mang Membr
                    Courtyard Connections, LLC
                    17 Village DR
                    New Canaan, CT 06840


                    Loureiro Engineering Assoc.
                    Attn: Pres., GP., or Mng. Mbr.
                    100 Northwest Drive
                    Plainville, CT 06062


                    Lustersheen Distributing, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    220 South Main Street
                    Auburn, ME 04210


                    Lyon Mercantile Group Ltd.
                    Attn: Pres., GP., or Mng. Mbr.
                    7924 W. Sahara Avenue
                    Las Vegas, NV 89117


                    MA - Department of Revenue
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 7089
                    Boston, MA 02204-7089


                    Machine Builders of NE
                    Attn: Pres., GP., or Mng. Mbr.
                    33 Hull Street
                    Suite 6
                    Shelton, CT 06484


                    Mallard Creek Polymers, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    2800 Morehead Road
                    Charlotte, NC 28262
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                    Margaret J Nanni
                    Attn: Pres, GP or Mang Membr
                    MJAN Associates LLC
                    141 Fox Drive
                    Allendale, NJ 07401


                    Mark Musselwhite
                    Attn: Pres., GP., or Mng. Mbr.
                    2228 Mack Bayou Road
                    Santa Rosa Beach, FL 32459


                    Mark R Brannon Jr
                    Attn: Pres., GP., or Mng. Mbr.
                    4713 West Beaumont St
                    Tampa, FL 33611


                    Marky Ortiz
                    Attn: Pres., GP., or Mng. Mbr.
                    274 S Hill Avenue
                    New Bramfels, TX 78130


                    Maryland Unemployment Ins.
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 1844
                    Baltimore, MD 21203-1844


                    Masterman's LLP
                    Attn: Pres, GP or Mang Membr
                    P.O.Box 411
                    Auburn, MA 01501-0411


                    Matt Grzesiakowski
                    Attn: Pres., GP., or Mng. Mbr.
                    1569 Levern Street
                    Clearwater,, FL 33755


                    Matthew Arthur Norton
                    Attn: Pres., GP., or Mng. Mbr.
                    36 Nobleboro Woods Rd
                    Nobleboro, ME 04555


                    Matthew Downs
                    Attn: Pres., GP., or Mng. Mbr.
                    10975 S. Eureka Dune Dr
                    So Jordan, UT 84009
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                    Matthew Felter
                    Attn: Pres., GP., or Mng. Mbr.
                    8417 N Armenia Ave Apt 822
                    Tampa, FL 33604


                    Matthew Jason Morris
                    Attn: Pres., GP., or Mng. Mbr.
                    630 24th Ave
                    Longview, WA 98632


                    Matthew Ryan Kernich
                    Attn: Pres., GP., or Mng. Mbr.
                    112 NC Highway 54
                    Apt. 02
                    Carrboro, NC 27510


                    Mattress Development Co.
                    dba Eclipse International
                    Attn: Pres., GP., or Mng. Mbr.
                    1375 Jersey Ave
                    North Brunswick, NJ 08902


                    Mattress Doctor
                    Attn: Pres., GP., or Mng. Mbr.
                    14221 Egg Ranch Road
                    Pekin, IL 61554


                    Mattress Mattress Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    4712 50th Ave.
                    Leduc, AB T9E6Y6


                    Maurice Johnson
                    Attn: Pres., GP., or Mng. Mbr.
                    148 Red Bird Lane
                    Hampstead, NC 28443


                    Mayo Studios, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    32-00 Skillman Ave Floor 3
                    Long Island City, NY 11101


                    McMaster-Carr Supply Co.
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 7690
                    Chicago, IL 60680-7690
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                    Mega Group USA, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    3340 Players Club Pkwy
                    Suite 120
                    Memphis, TN 38125


                    Mega Group USA, Inc. (Rebates)
                    Attn: Pres., GP., or Mng. Mbr.
                    3340 Players Club Pkwy
                    Suite 120
                    Memphis, TN 38125


                    Mega Group, Inc. (Canada)
                    Attn: Pres., GP., or Mng. Mbr.
                    720 - 1st Avenue North
                    Saskatoon, .. SK S7K 6R 9


                    Melanie R Helmick
                    Attn: Pres., GP., or Mng. Mbr.
                    412 Jones Franklin Rd
                    Raleigh, NC 27606


                    MEMIC Indemnity Company
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 9500
                    Lewiston, ME 04293-9500


                    Meriden Cooper Corp
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 692
                    112 Golden St
                    Meriden, CT 06450-0692


                    Merrimac Industrial Sales Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    111 Neck Rd
                    Haverhill, MA 01835


                    MFG Automation LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    28 Hall Hill Road
                    Willington, CT 06279


                    Michael A. Davis
                    Attn: Pres., GP., or Mng. Mbr.
                    1501 E Bridge St
                    Redw0od Falls, MN 56087
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                    Michael C. Battaglia
                    Mike's Mattress Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    23330 Harborview Rd. Unit B
                    Punta Gorda, FL 33980


                    Michael Graham
                    Attn: Pres., GP., or Mng. Mbr.
                    38194 Summerwood Ave
                    Prairieville, LA 70769


                    Michael Houlroyd
                    Attn: Pres., GP., or Mng. Mbr.
                    14820 Jacks Pond Rd
                    Austin, TX 78728


                    Michael Joseph Peters II
                    Attn: Pres., GP., or Mng. Mbr.
                    4500 Nicholson Rd Unit E-12
                    Vancouver, WA 98661


                    Microtek Laboratories, Inc.
                    Attn: Pres, GP or Mang Membr
                    2400 East River Road
                    Dayton, OH 45439


                    Milan Fanclik
                    dba Milan Painting & Wallp
                    Attn: Pres., GP., or Mng. Mbr.
                    38 Knollcrest Ct
                    Trumbull, CT 06611


                    Milford Barrel Co., Inc.
                    Attn: Pres, GP or Mang Membr
                    100 Warwick St.
                    New Haven, CT 06513-4642


                    Milliken & Company
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 780715
                    Philadelphia, PA 19178-0715


                    Mimecast North America Inc
                    Attn: Pres, GP or Mang Membr
                    Department CH 10922
                    Palatine, IL 60055-0922
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                    Minuteman Press
                    Attn: Pres., GP., or Mng. Mbr.
                    42 Bridgeport Ave
                    Shelton, CT 06484


                    MITSUI SUMITOMO Insurance Co
                    Attn: Pres, GP or Mang Membr
                    15149 Collections Center Drive
                    Chicago, IL 60693


                    MJ Deli
                    dba Piccolo's Sunnyside Deli
                    Attn: Pres., GP., or Mng. Mbr.
                    425 River Rd
                    Shelton, CT 06484


                    MJE Creative Services LLC
                    Attn: Pres, GP or Mang Membr
                    102 Deepwater Circle
                    Manalapan, NJ 07726


                    Momtrends LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    70 Washington Street #12G
                    Brooklyn, NY 11201


                    Moneco Advisors, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    2150 Post Road
                    Fairifield, CT 06824


                    Multiview, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 674777
                    Detroit, MI 48267-4777


                    Nathan J Klatt
                    dba Rockport Investment P
                    Attn: Pres., GP., or Mng. Mbr.
                    10 Sunset Drive
                    Weston, CT 06883


                    National Association of Corp.
                    Attn: Pres., GP., or Mng. Mbr.
                    2001 Pennsylvania Ave NW
                    Ste 500
                    Washington, DC 20006
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                    National Fire Adjustment
                    Attn: Pres., GP., or Mng. Mbr.
                    1 NFA Park
                    Amherst, NY 14228-1187


                    Nationwide Marketing Group
                    Attn: Pres., GP., or Mng. Mbr.
                    110 Oakwood Drive, STE 200
                    Winston-Salem, NC 27103


                    Nauset Engineering
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 78
                    Mansfield, MA 02048-0078


                    NC Department of Revenue
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 25000
                    Raleigh, NC 27640-0520


                    Ned Miller Agency
                    Attn: Pres., GP., or Mng. Mbr.
                    375 Bridgeport Avenue
                    Shelton, CT 06484


                    Neil Graham
                    Attn: Pres., GP., or Mng. Mbr.
                    16209 Wishing Stone Dr
                    Prairieville, LA 70769


                    NESCO Resource LLC
                    Attn: Pres, GP or Mang Membr
                    PO Box 901372
                    Cleveland, OH 44190-1372


                    New Penn Motor Express
                    Attn: Pres., GP., or Mng. Mbr.
                    24801 Network Place
                    Chicago, IL 60673-1248


                    Nexus Design LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    1 Jacks Hill Rd
                    Oxford, CT 06478
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                    Nicole Morley
                    Attn: Pres., GP., or Mng. Mbr.
                    7 King Arthur Way, Apt 3
                    Newington, CT 06111


                    Nicole Young
                    Aminta Rose Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    88 Bleecker Street #3A
                    New York, NY 10012


                    NITCO, Inc.
                    Attn: Pres, GP or Mang Membr
                    PO Box 845534
                    Boston, MA 02284-5534


                    Nortech Environmental, LLC
                    Attn: Pres, GP or Mang Membr
                    P.O.Box 803
                    South Windsor,, CT 06074


                    NYS Corporation Tax
                    NYS Estimated Corporation Tax
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 4136
                    Binghamton, NY 13902-4136


                    NYS Department of State
                    Division of Licensing Services
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 22001
                    Albany, NY 12201-2001


                    Oak Ridge Hauling, LLC
                    Attn: Pres, GP or Mang Membr
                    PO Box 1937
                    Danbury, CT 06813-1937


                    Oceanic State Scale & Balance
                    Attn: Pres., GP., or Mng. Mbr.
                    185 Providence Street, A106
                    PO Box 287
                    West Warwick, RI 02893
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                    Odor Management Inc
                    Attn: Pres, GP or Mang Membr
                    Omi Industries Inc
                    1 Corporate Drive, Ste 100
                    Long Grove, IL 60047


                    Odor Science & Engineering
                    Attn: Pres., GP., or Mng. Mbr.
                    105 Filley Street
                    Bloomfield, CT 06002


                    OH - Dept of Taxation
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 16678
                    Columbus, OH 43216-6678


                    OH Department of Commerce
                    Bedding Division
                    Attn: Pres., GP., or Mng. Mbr.
                    6606 Tussing Road PO Box 4009
                    Reynoldsburg, OH 43068-9009


                    Olga Dominguez
                    Attn: Pres., GP., or Mng. Mbr.
                    3501 Rue Nichole
                    New Orleans, LA 70131


                    Olive Brands Holdings LLC
                    Attn: Pres, GP or Mang Membr
                    15 E Putnam Ave, Ste 115
                    Greenwich, CT 06830


                    Omega Engineering, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    26904 Network Place
                    Chicago, IL 60673-1269


                    Omni Data LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    4 Industry Drive Ext,, Bldg. 2
                    PO Box 26653
                    West Haven, CT 06516


                    Open Text Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    24685 Network Place
                    Chicago, IL 60673-1246
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                    Operationas Inc, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    535 Connecticut Ave
                    Norwalk, CT 06854


                    Oregon Department of Revenue
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 14725
                    Salem, OR 97309-5018


                    Osprey Environmental Engineer
                    Attn: Pres, GP or Mang Membr
                    146 East Main St.
                    Clinton, CT 06413


                    Oxford Hill Partners, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    25900 Greenfield Rd, Ste 232
                    Oak Park, MI 48237


                    P.S. Koeppel & Associates
                    dba Koeppel Direct
                    Attn: Pres., GP., or Mng. Mbr.
                    16200 Dallas Parkway, Ste 270
                    Dallas, TX 75248


                    PA Dept of Labor & Industry
                    Attn: Pres., GP., or Mng. Mbr.
                    651 Boas Street
                    Harrisburg, PA 17121


                    Pace Motor Lines
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 842925
                    Boston, MA 02284-2925


                    Packard Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    6 Industrial Rd
                    PO Box 7238
                    Prospect, CT 06712


                    Pamela Taranto
                    Attn: Pres., GP., or Mng. Mbr.
                    4119 Jasper St
                    Metairie, LA 70802
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                    Pampas Churrascaria Las Vegas
                    Attn: Pres., GP., or Mng. Mbr.
                    3663 S. Las Vegas Blvd #610
                    Las Vegas, NV 89109


                    Park City Valve & Fitting, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 470
                    Bridgeport, CT 06601


                    Parker Electrical Contracting
                    Attn: Pres., GP., or Mng. Mbr.
                    520 W Magnolia Ave
                    Iowa Park, TX 76367


                    Path Interactive, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    915 Broadway, Suite 501
                    New York, NY 10010


                    Paul's Landscaping Inc.
                    Attn: Pres, GP or Mang Membr
                    18 Beverly Lane
                    Shelton, CT 06484


                    Pearse-Bertram, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 1912
                    Brattleboro, VT 05302-1912


                    Pegasus Worldwide Logistics
                    Attn: Pres., GP., or Mng. Mbr.
                    1 Civic Plaza Drive
                    Suite #530
                    Carson, CA 90745


                    Perpetual Machine Company
                    Attn: Pres., GP., or Mng. Mbr.
                    P O Box 741633
                    Atlanta, GA 30374-1633


                    Peterson Chemical Technology
                    Attn: Pres, GP or Mang Membr
                    PO Box 6776
                    4851 Regions Park Drive
                    Fort Smith, AR 72916
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                    Philip Rotter
                    Attn: Pres., GP., or Mng. Mbr.
                    82-16 34th Ave Apt 2B
                    Jackson Heights, NY 11372


                    Pitney Bowes
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 371896
                    Pittsburgh, PA 15250-7896


                    Pittman Trucking, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    367 Powdermill Creek Rd
                    Newland, NC 28657


                    Pizzitola Electric Co. Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    29 Duval Lane
                    Plainville, CT 06062


                    PLB Holdings, LLC
                    510 River Road
                    Shelton, CT 06484


                    Postage by Phone
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 856042
                    Louisville, KY 40285-6042


                    Pouschine Cook Capital Mang.
                    Attn: Pres, GP or Mang Membr
                    410 Park Ave
                    Suite 1710
                    New York, NY 10022


                    Power and Process Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    127 Industrial Drive
                    Southington, CT 06489


                    PowerHawke, Ltd
                    Attn: Pres., GP., or Mng. Mbr.
                    505 Main St
                    Farmington, CT 06032
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                    PR Newswire Association LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    GPO Box 5897
                    New York, NY 10087-5897


                    PraxAir Inc.
                    Attn: Pres, GP or Mang Membr
                    PO Box 417518
                    Boston, MA 02241-7518


                    Preferred Utilities Manu.
                    Attn: Pres., GP., or Mng. Mbr.
                    31-35 South Street
                    Danbury, CT 06810


                    Presley Public Relations
                    Attn: Pres., GP., or Mng. Mbr.
                    1211 Applewood Dr, Ste 1
                    Papillion, NE 68046


                    Pro-Ware LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    3909 S. 147th Street, #134
                    Omaha, NE 68144-5565


                    Progressive Benefits Solutions
                    Attn: Pres., GP., or Mng. Mbr.
                    14 Business Park Dr, #8
                    Branford, CT 06405


                    Progressive Business Pub.
                    Attn: Pres., GP., or Mng. Mbr.
                    370 Technology Drive
                    PO Box 3019
                    Malvern, PA 19355-9790


                    Provident Life & Accident Ins.
                    Individual Business Operations
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 740592
                    Atlanta, GA 30374-0592


                    Pure Latex Bliss, LLC
                    510 River Road
                    Shelton, CT 06484
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                    Q P Equipment, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    15 Royal Court
                    Shelton, CT 06484


                    Q-Mation Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    425 Caredean Drive
                    Horsham, PA 19044


                    Quest Diagnostics
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 740709
                    Atlanta, GA 30374-0709


                    R & R Freight Services, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    49 Fowler Road
                    North Branford, CT 06471


                    R.B. Birge Co.
                    Attn: Pres, GP or Mang Membr
                    22 Webster St
                    Bridgeport, CT 06607-2300


                    R.L. Reed, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    4110 Flossmoor St
                    Las Vegas, NV 89115


                    Randall Joubert
                    Attn: Pres., GP., or Mng. Mbr.
                    25 Spring Drive
                    Nobleboro, ME 04572


                    Rapid Recovery
                    Attn: Pres., GP., or Mng. Mbr.
                    8932 W Cactus Rd
                    Peoria, AZ 85381


                    Rebecca Alberico
                    Attn: Pres., GP., or Mng. Mbr.
                    71 Airport Rd
                    Arden, NC 28704
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                    Red River Pallet, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    9196 Peanut Road
                    Marietta, OK 73448


                    Red River Waste Management LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    1505 P B Lane
                    Wichita Falls, TX 76302-2631


                    Reid & Riege PC
                    Attn: Pres., GP., or Mng. Mbr.
                    1 Financial Plz 21
                    Hartford, CT 06103


                    Reitman Personnel Services Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    163 Cedar Street
                    Branford, CT 06405


                    Renato T. Pace
                    Attn: Pres, GP or Mang Membr
                    Renatos Sewing Machine LLC
                    2321 Silas Deane Highway
                    Rocky Hill, CT 06067


                    Renee McPeek
                    dba Eastern Mechanical Insu
                    Attn: Pres., GP., or Mng. Mbr.
                    70 Southworth Drive
                    Ashford, CT 06278


                    Respond Systems, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    1275 Cromwell Avenue
                    Suite B-1
                    Rocky HIll, CT 06067


                    Richard Charles Senokosoff
                    Industrial Pressure Washers
                    Attn: Pres., GP., or Mng. Mbr.
                    942 New Britain Avenue
                    West Hartford, CT 06110
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                    Richard Contrastano
                    Attn: Pres., GP., or Mng. Mbr.
                    22 Colony Rd
                    Canton, CT 06019


                    Richard T. Coffey
                    dba KTT Enterprises LL
                    Attn: Pres., GP., or Mng. Mbr.
                    15 Marne Street (rear)
                    Hamden, CT 06514-3610


                    Ring's End Incorporated
                    Attn: Pres., GP., or Mng. Mbr.
                    181 West Avenue
                    Darien, CT 06820


                    Riverfront Music Revival, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    338 Linwwod Ave
                    Fairfield, CT 06824


                    Robert G Relph Agency, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    22113 Fabco Road
                    Watertown, NY 13601


                    Robert J. Fabian
                    Attn: Pres., GP., or Mng. Mbr.
                    225 N. Sibley St
                    Metairie, LA 70003


                    Robert Kellenbenz
                    Attn: Pres., GP., or Mng. Mbr.
                    2915 E Martin Way
                    Cottonwood, AZ 86326


                    Robert Lewis Skinner
                    Attn: Pres., GP., or Mng. Mbr.
                    804 W Magnolia Ave
                    Iowa Park, IL 76367


                    Robert Torres
                    Accurate Conveyor, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 1883
                    Bristol, CT 06011-1883
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                    Robin B. Resendez
                    Attn: Pres., GP., or Mng. Mbr.
                    920 Orion Ave
                    Motairie, WA 70005


                    Robin Lee Emery
                    Attn: Pres., GP., or Mng. Mbr.
                    389 Town Farm Rd
                    Bucksport, ME 04416


                    Ross Olinski
                    Attn: Pres., GP., or Mng. Mbr.
                    178 Lockwood Lane
                    Bloomingdale, IL 60108


                    Royal Slide Sales Co., Inc.
                    Attn: Pres, GP or Mang Membr
                    42 Hepworth Place
                    Garfield, NJ 07026


                    RSM US LLP
                    Attn: Pres, GP or Mang Membr
                    5155 Paysphere Circle
                    Chicago, IL 60674


                    Ruckel Mfg. Co., Inc.
                    Attn: Pres, GP or Mang Membr
                    Brooklyn Navy Yard
                    63 Flushing Ave. Unit 331
                    Brooklyn, NY 11205


                    Russell Keith Winckler
                    Attn: Pres., GP., or Mng. Mbr.
                    2702 Wilderness Dr N
                    College Station, TX 77845


                    Rustys Weigh Scales & Service
                    Attn: Pres., GP., or Mng. Mbr.
                    408 North Interstate 27
                    Lubbock, TX 79403-3220


                    Ryan Davies
                    Attn: Pres., GP., or Mng. Mbr.
                    800 Laplaza Ave S
                    St. Petersburg, FL 33707
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                    Ryan Prescott
                    Attn: Pres., GP., or Mng. Mbr.
                    330 E 11th St., Apt 11
                    New York, NY 10003


                    Saatva, Inc.
                    Attn: Pres, GP or Mang Membr
                    19-02 Whitestone Expwy
                    Ste 201
                    Whitestone, NY 11357


                    Saft, LLC
                    DBA The Spinrad Group
                    Attn: Pres., GP., or Mng. Mbr.
                    525 Hoffman Drive
                    Bryn Mawr, PA 19010


                    SALCO Incorporated
                    Attn: Pres., GP., or Mng. Mbr.
                    5930 Fisher Rd.
                    East Syracuse, NY 13057


                    Sandow dba Furniture Today
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 16659
                    North Hollywood, CA 91615-9634


                    Sarah Wadle
                    dba First Position Media
                    Attn: Pres., GP., or Mng. Mbr.
                    31 Winthrop Hill Road
                    Ivoryton, CT 06442


                    Sarcona Management, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    60 Jacobus Ave.
                    South Kearny, NJ 07032


                    SB Marketing Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    145 East 27th Street 12P
                    New York, NY 10016
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                    SBN IV LFI LLC
                    Summit Investment Management
                    Attn: Pres., GP., or Mng. Mbr.
                    1700 Lincoln St. Suite 2150
                    Denver, CO 80203


                    Schenker, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 7247-7623
                    Philadelphia, PA 19170-7623


                    Sean Cormier
                    Attn: Pres., GP., or Mng. Mbr.
                    FIT, 227 West 27th Street
                    New York, NY 10001


                    Secretary of the Commonwealth
                    Corporations Division
                    Attn: Pres., GP., or Mng. Mbr.
                    1 Ashburton Place, 17th Floor
                    Boston, MA 02108-1512


                    See Attached



                    Seena Magowitz Foundation
                    Attn: Pres., GP., or Mng. Mbr.
                    7105 E Paradise Drive
                    Scottsdale, AZ 85254


                    Selden's Interior Furnishings
                    Attn: Pres., GP., or Mng. Mbr.
                    1802 62nd Avenue E
                    Tacoma, WA 98424


                    Serta Mattress Company-Iowa
                    Attn: Pres., GP., or Mng. Mbr.
                    1 Concourse Parkway
                    Suite 800
                    Atlanta, GA 30328


                    Serta Mattress Company-Utah
                    Attn: Pres., GP., or Mng. Mbr.
                    1620 South Empire Road
                    2016 Serta Golf Classic
                    Salt lake City, UT 84104
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                    Seth Michael Stern
                    Attn: Pres., GP., or Mng. Mbr.
                    2808 1/2 S Bronson Ave
                    Los Angeles, CA 90018


                    Seymour Ambulance Assoc.
                    Attn: Pres., GP., or Mng. Mbr.
                    4 Wakeley Street
                    Seymour, CT 06483


                    SGS Govmark Testing Services
                    Citibank
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 2502
                    Carol Stream, IL 60132-2502


                    Shaun R. St. Germain
                    Attn: Pres., GP., or Mng. Mbr.
                    13951 Tensaw Dr
                    Hudson, FL 34669


                    Shelton Gazebo Fund
                    City of Shelton
                    Attn: Pres., GP., or Mng. Mbr.
                    41 Church Street
                    Shelton, CT 06484


                    Shelton Police Union, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 27
                    Shelton, CT 06484


                    Shelton Tax Collector
                    Attn: Pres., GP., or Mng. Mbr.
                    54 Hill Street
                    PO Box 273
                    Shelton, CT 06484


                    Shipmates Printmates Holdings
                    Attn: Pres, GP or Mang Membr
                    705 Corporations Park
                    Scotia, NY 12302
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                    Shirley Technologies, Ltd
                    Attn: Pres., GP., or Mng. Mbr.
                    Westpoint Enterprise Park
                    Unit 11, Trafford Park
                    Manchester, M17 1QS


                    Shoppas Material Handling, LTD
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 612027
                    Dallas, TX 75261-2027


                    Shred-It Connecticut Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    28883 Network Place
                    Chicago, IL 60673-1288


                    Simmons Holding LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    400 Regency Drive
                    Glendale Heights, IL 60139


                    Simon G Devers
                    Attn: Pres., GP., or Mng. Mbr.
                    3556 U Street
                    Washougal, WA 98671


                    Sizmek Technologies Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    500 W. 5th Street, Ste 900
                    Austin, TX 78701


                    SLC Nationwide, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    93 Hasgate Drive
                    Delmar, NY 12054


                    Sleep Products Section
                    Attn: Pres., GP., or Mng. Mbr.
                    1090 Mail Service Center
                    Raleigh, NC 27699-1090


                    Smart Tech Trading IKE
                    Attn: Pres., GP., or Mng. Mbr.
                    1 Kifissias Avenue
                    Marousi
                    Athens, .. 15123
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                    Society for Human Resource
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 791139
                    Baltimore, MD 21279-1139


                    Software Hardware Intergration
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 952121
                    Dallas, TX 75395-2121


                    SoundSafe Security Systems LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    685 Honeyspot Road
                    Stratford, CT 06615


                    Southeastern Freight Lines
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 1691
                    Columbia, SC 29202


                    Southern CT Fire Extinguisher
                    Attn: Pres., GP., or Mng. Mbr.
                    167 Cherry Street, #270
                    Milford, CT 06460


                    Sparkletts
                    Attn: Pres, GP or Mang Membr
                    PO Box 660579
                    Dallas, TX, TX 75266-0579


                    Specialty Sleep Association
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 432
                    Friant, CA 93626


                    St. Onge Steward Johnston
                    Attn: Pres, GP or Mang Membr
                    986 Bedford Street
                    Stamford, CT 06905-5619


                    Standard Fiber, LLC
                    Attn: Pres, GP or Mang Membr
                    577 Airport Blvd., Suite 200
                    Burlingame, CA 94010
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                    Starfish, LLC
                    Attn: Pres, GP or Mang Membr
                    32 West 22nd Street, 3rd Floor
                    New York, NY 10010


                    Starkweather & Shepley (NM)
                    Attn: Pres., GP., or Mng. Mbr.
                    375 Bridgeport Ave
                    Shelton, CT 06484


                    State of Connecticut
                    CT Dept. of Administrative
                    Attn: Pres., GP., or Mng. Mbr.
                    450 Columbus Blvd, Ste 1303
                    Hartford, CT 06103


                    State of Michigan
                    Department of Treasury
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 30774
                    Lansing, MI 48909


                    State of New Jersey
                    Dept of Labor & Workforce
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 929
                    Trenton, NJ 08646-0929


                    Steinreich Communications
                    Attn: Pres., GP., or Mng. Mbr.
                    One University Plaza, Ste 510
                    Hackensack, NJ 07601


                    Stephanie Black
                    Attn: Pres., GP., or Mng. Mbr.
                    22 Hemlock Street
                    Bangor, ME 04401


                    Stephen Celtrick
                    Attn: Pres., GP., or Mng. Mbr.
                    2533 N.E. Indian River Drive
                    Jensen Beach, FL 34957


                    Steve Chandler
                    Attn: Pres., GP., or Mng. Mbr.
                    1281 Brooks Road
                    Corrigan, TX 75939
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                    Steven Peterson
                    Attn: Pres., GP., or Mng. Mbr.
                    12813 Scoild Mare Way
                    Riverton, UT 84096


                    Steven R. Hartman
                    Attn: Pres., GP., or Mng. Mbr.
                    4905 Capri Avenue
                    Sarasota, FL 34235


                    Stoermer-Anderson, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    3818 Red Bank Road
                    Cincinnati, OH 45227


                    Strohwig Industries, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    3285 Industrial Rd.
                    Richfield, WI 53076-0038


                    Stuart Ginsberg
                    Attn: Pres., GP., or Mng. Mbr.
                    503 Waterfall Drive
                    Canton, GA 30114


                    Stuprich Sales Co. Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    60 Tall Grass Ct.
                    Streamwood, IL 60107


                    Summit Investment Mang.
                    Attn: Pres, GP or Mang Membr
                    SBN IV LFI LLC
                    1700 Lincoln St. Suite 2150
                    Denver, CO 80203


                    Sunset Sleep Products, Inc
                    Fred's Bed
                    Attn: Pres., GP., or Mng. Mbr.
                    11125 Hwy 17 N
                    Wilmington, NC 28411


                    Synthomer LLC
                    Attn: Pres, GP or Mang Membr
                    5/3 Bank
                    1761 Momentum Place
                    Chicago, IL 60689
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                    Tallian Kyle Taylor
                    Attn: Pres., GP., or Mng. Mbr.
                    11300 Parmer Lane #220
                    Cedar Park, TX 78613


                    Tammy Feige
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 783
                    Brewer, ME 04412


                    Tania   V Yumbla
                    Attn:   Pres., GP., or Mng. Mbr.
                    17301   Biscayne Blvd, Apt 1907
                    North   Miami Beach, FL 33160


                    TASC
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 88278
                    Milwaukee, WI 53288-0001


                    Tax Assessor Collector
                    Attn: Pres., GP., or Mng. Mbr.
                    600 Scott Ave Ste 103
                    Wichita Falls, TX 76301


                    Tech Transport, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    300 Elm Street
                    Unit #1
                    Milford, NH 03055-4715


                    Tennant Company
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 71414
                    Chicago, IL 60694-1414


                    Texas Workforce Commission
                    Tax Department
                    Attn: Pres., GP., or Mng. Mbr.
                    101 E. 15th Street, Room 540
                    Austin, TX 78701-1442


                    TexNet International (Pvt) Ltd
                    F-50/1/A, Block No4, K.D.A.
                    Attn: Pres., GP., or Mng. Mbr.
                    Scheme No. 5, Clifton
                    Karachi, .. ---
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                    The Chapin and Bangs Co, Inc.
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 1117
                    Bridgeport, CT 06601-1117


                    The Coburn Company Inc
                    dba Coburn Pressw
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 147
                    Whitewater, WI 53190


                    The HR Specialists
                    Attn: Pres., GP., or Mng. Mbr.
                    7600A Leesburg Pike, West Bldg
                    Ste 300
                    Falls Church, VA 22043-2004


                    The Myositis Association
                    Attn: Pres., GP., or Mng. Mbr.
                    1940 Duke Street, Ste 200
                    Alexandria, VA 22314


                    The Plastic Factory LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    678 Howard Ave.
                    Bridgeport, CT 06605


                    The Quartz Corp USA
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 116885
                    Atlanta, GA 30368-6885


                    The Stanwich Club
                    Attn: Pres., GP., or Mng. Mbr.
                    888 North Street
                    Greenwich, CT 06831-2844


                    Theresa Anne Boltz
                    Attn: Pres., GP., or Mng. Mbr.
                    3903 11th Street
                    Micco, FL 32976


                    Thermal Fluid Tech., Corp.
                    Attn: Pres., GP., or Mng. Mbr
                    PO Box 2117
                    Fort Mill, SC 29716
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                    Thermaxx, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    14 Farwell Street, Bldg 2B
                    West Haven, CT 06516


                    Tiarco, LLC
                    Attn: Pres, GP or Mang Membr
                    PO Box 745375
                    Atlanta, GA 30384-5375


                    Tiffany Hill
                    Attn: Pres., GP., or Mng. Mbr.
                    3001 Kings Hwy East
                    Prescott Valley, AZ 86314


                    Timothy Paul Eberth
                    Attn: Pres., GP., or Mng. Mbr.
                    5264 NE 121st Ave #P-131
                    Vancouver, WA 98682


                    TN Department of Revenue
                    Attn: Pres., GP., or Mng. Mbr.
                    500 Deadrick Street
                    Nashville, TN 37242


                    TN Secretary of the State
                    Attn: Pres., GP., or Mng. Mbr.
                    312 Rosa L Parks Ave, 6th Fl.
                    Nashville, TN 37243-1102


                    Todd D. Amos
                    Attn: Pres., GP., or Mng. Mbr.
                    3641 Peachtree St
                    Slidell, LA 70458


                    Todd Fox
                    Attn: Pres., GP., or Mng. Mbr.
                    3220 Nundy Road
                    Tampa, FL 33618


                    Tonya Elizardo
                    Attn: Pres., GP., or Mng. Mbr.
                    2126 Echo Hills Drive
                    New Bramfels, TX 78130
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                    Toyota Financial Services
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 660926
                    Dallas, TX 75266-0926


                    Tradebe Environmental Services
                    Attn: Pres, GP or Mang Membr
                    PO Box 674037
                    Dallas, TX 75267-4237


                    Transgroup Internatioanl
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 69207
                    Seattle, WA 98168


                    Transitional Reinsurance Contrib.
                    Attn: Pres., GP., or Mng. Mbr.
                    7500 Security Boulevard
                    Baltimore, MD 21244


                    Traver IDC, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    151-165 Homer Street
                    Waterbury, CT 06704


                    Treasurer, State of CT
                    Dept of Consumer Protection
                    Attn: Pres., GP., or Mng. Mbr.
                    450 Columbus Blvd, Ste 801
                    Hartford, CT 06103


                    Treasurer, State of Ohio
                    Attn: Pres., GP., or Mng. Mbr.
                    6606 Tussing Road, PO Box 4009
                    Reynoldsburg, OH 43068-9009


                    Tri-Continental Truck Broker.
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 1621
                    Scottsdale, AZ 85252


                    TX - State of Texas
                    Sales & Use
                    Attn: Pres., GP., or Mng. Mbr.
                    Austin, TX 78701
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                    Tyler Heagy
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 826
                    Prairieville, LA 70769


                    U.S. Bank
                    Legacy Latex Trust Account
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 70870
                    St. Paul, MN 55170-9690


                    ULINE, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 88741
                    Chicago, IL 60680-1741


                    Unicorr Packaging Group
                    Attn: Pres, GP or Mang Membr
                    Connecticut Container Corp
                    4282 Paysphere Circle
                    Chicago, IL 60674


                    Union Forwarding Agency SDN
                    Attn: Pres., GP., or Mng. Mbr.
                    Union House, 9A
                    Jalan Berangan, 42000
                    Selangor Farul Ehsan, .. .


                    Unique Logistics Internatioal
                    Attn: Pres., GP., or Mng. Mbr.
                    2727 Paces Ferry Road SE
                    Building 1, Ste 100
                    Atlanta, GA 30339


                    United Illuminating Co.
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 9230
                    Chelsea, MA 02150-9230


                    United Illuminating Co.
                    Attn: Pres., GP., or Mng. Mbr.
                    100 Marsh Hill Rd
                    Orange, CT 06477
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                    United Illuminating Co.
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 9230
                    Chelsea, MA 02150-9230


                    United States Treasury
                    Internal Revenue Service
                    Attn: Pres., GP., or Mng. Mbr.
                    Cincinnati, OH 45999-0009


                    UNIVAR USA Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    13009 Collection Center Drive
                    Chicago, IL 60693


                    UPS
                    Attn: Pres, GP or Mang Membr
                    PO Box 7247-0244
                    Philadelphia, PA 19170-0001


                    UPS Freight
                    Attn: Pres., GP., or Mng. Mbr.
                    28013 Network Place
                    Chicago, IL 60673-1280


                    UPS Freight
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 650690
                    Dallas, TX 75265


                    UPS Supply Chain Solutions
                    Attn: Pres, GP or Mang Membr
                    28013 Network Place
                    Chicago, IL 60673-1280


                    US Bedding
                    Attn: Pres., GP., or Mng. Mbr.
                    451 Quarry Street
                    Fall River, MA 02723


                    US Department of the Treasury
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 979101
                    St. Louis, MO 63197-9000
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                    UT State Tax Commission
                    Attn: Pres., GP., or Mng. Mbr.
                    210 N. 1950 W.
                    Salt Lake City, UT 84134-0180


                    Utah State Tax Commission
                    Attn: Pres., GP., or Mng. Mbr.
                    210 North 1950 West
                    Salt Lake City, UT 84134-0180


                    VA Department of Taxation
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 1500
                    Richmond, VA 23218-1500


                    Valley Electric Supply Co.
                    Attn: Pres, GP or Mang Membr
                    3 Chestnut Street
                    P.O. Box 42
                    Ansonia, CT 06401-2323


                    Valley Roller Company
                    Division of Maxcess Int'l
                    Attn: Pres., GP., or Mng. Mbr.
                    N257 Stoney Brook Rd
                    Appleton, WI 54915-9444


                    Valley United Way
                    Attn: Pres., GP., or Mng. Mbr.
                    54 Grove Street
                    Shelton, CT 06484


                    Veritiv Operating Company
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 409884
                    Atlanta, GA 30384-9884


                    Verizon Wireless
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 15062
                    Albany, NY 12212-5062


                    Vincent Alberico
                    Expert Sleep Solutions
                    Attn: Pres., GP., or Mng. Mbr.
                    3129 Piedmont Rd NE
                    Atlanta, GA 30305
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                    Visionary Sleep
                    Attn: Pres., GP., or Mng. Mbr.
                    1721- Moon Lake Blvd Ste 205
                    Hoffman Estates, IL 60169


                    W J Electric, LLC.
                    Attn: Pres, GP or Mang Membr
                    11 Lantern Drive
                    Seymour, CT 06483


                    W.W. Grainger, Inc.
                    Attn: Pres, GP or Mang Membr
                    DEPT. 801109505
                    Palatine, IL 60038-0001


                    WageWorks, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 224547
                    Dallas, TX 75222-4547


                    Wakefly, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    293 Boston Post Road West
                    Suite 140
                    Marlborough, MA 01752


                    Walker Industrial Products
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 499
                    Newtown, CT 06470


                    Walter Warren Speidel
                    Attn: Pres., GP., or Mng. Mbr.
                    4340 Baden Dr
                    Holiday, FL 34691


                    Warren Controls, Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    2600 Emrick Blvd
                    Bethlehem, PA 18020-8010


                    WC of Texas
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 742695
                    Cincinnati, OH 45274-2695
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                    Webex Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 6611
                    Carol Stream, IL 60197-6611


                    Welder Repair & Rental Service
                    Attn: Pres., GP., or Mng. Mbr.
                    16 Commerce Circle
                    PO Box 659
                    Durham, CT 06422


                    Wells Fargo Bank
                    Safe Deposit Box Operations
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 173793
                    Denver, CO 80217-3793


                    West Yorkshire Material Testing
                    Attn: Pres., GP., or Mng. Mbr.
                    PO Box 5, Nepshaw Lane South
                    Morley
                    Leeds, .. LS27 7JQ


                    Westfair Communications
                    Attn: Pres., GP., or Mng. Mbr.
                    3 Westchester Park Drive G7
                    White Plains, NY 10607


                    WG&R Furniture Company, Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    900 Challenger Drive
                    Green Bay, WI 54311


                    Wichita Restaurant Supply Inc
                    Attn: Pres., GP., or Mng. Mbr.
                    1122 Scott Ave
                    Wichita Falls, TX 76301


                    Wichita Star
                    dba Staybridge Suites
                    Attn: Pres., GP., or Mng. Mbr.
                    1917 Elmwood Ave N
                    Wichita Falls, TX 76308
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                    Wiggin & Dana LLP
                    Attn: Pres, GP or Mang Membr
                    Attn: Accounts Receivables
                    PO Box 1832
                    New Haven, CT 06508-1832


                    Willem Preuter
                    Attn: Pres., GP., or Mng. Mbr.
                    1441 Spring Street
                    Medford, OR 97504


                    William Martin
                    Attn: Pres., GP., or Mng. Mbr.
                    360 Honeyspot Road
                    Stratford, CT 06615


                    William Pool
                    Attn: Pres., GP., or Mng. Mbr.
                    12110 FM 179 B
                    Wolfforth, TX 79382


                    Williamson Electrical Co., Inc
                    Attn: Pres, GP or Mang Membr
                    PO Box6265
                    Chelsea, MA 02150


                    Wilmot L Dow
                    Attn: Pres., GP., or Mng. Mbr.
                    30 Malers Pnod Rd
                    Waldoboro, ME 04572


                    Worthington Olsen Inc
                    dba CobraHelp
                    Attn: Pres., GP., or Mng. Mbr.
                    1620 High Street
                    Denver, CO 80218


                    Wright Global Graphics
                    Attn: Pres, GP or Mang Membr
                    P.O. Box 306186
                    Nashville, TN 37230-6186


                    WV - Division of Labor
                    Attn: Pres., GP., or Mng. Mbr.
                    State Capitol Complex
                    Bldg 6, Rm.749-B
                    Charleston, WV 25305
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                    Xpedx
                    Attn: Pres, GP or Mang Membr
                    PO Box 644520
                    Pittsburgh, PA 15264-4520


                    XPO Logistics Freight Inc
                    Con-Way Freight Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 5160
                    Portland, OR 97208-5160


                    XSENSOR Technology Corporation
                    Attn: Pres., GP., or Mng. Mbr.
                    133 12 Ave SE
                    Calgary AB, ?? T2G0Z9


                    Yarde Metals Inc.
                    Attn: Pres., GP., or Mng. Mbr.
                    45 Newell St.
                    Southington, CT 06489


                    YNIE, LLC
                    Attn: Pres., GP., or Mng. Mbr.
                    6380 S Valley View Suite 316
                    Las Vegas, NV 89118


                    YRC (RDWY)
                    Attn: Pres., GP., or Mng. Mbr.
                    P.O. Box 13573
                    Newark, NJ 07188-3573


                    Zachary Adam Wymer
                    Attn: Pres., GP., or Mng. Mbr.
                    7603 Concord Ln NE # D-204
                    Bremerton, WA 98383


                    Zachary Davis
                    Attn: Pres., GP., or Mng. Mbr.
                    2614 Thayer Dr
                    Saint Joseph, MI 49085


                    Zwick USA, LP
                    Attn: Pres., GP., or Mng. Mbr.
                    2125 Barrett Park Drive
                    Suite 107
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